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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TIMOTHY C. PIGFORD,et al.
    PLAINTIFFS

v.                                                   CIVIL ACTION NO.97-1978(PLF)

TOM VILSACK,SECRETARY,THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT



CECIL BREWINGTON,et al.
     PLAINTIFFS

                                                     CIVIL ACTION NO.98-1693(PLF)

TOM VILSACK,SECRETARY,THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT


                           DECLARATION OF JESSE KEARNEY

       I, Jesse Kearney, declare as follows:

       1. Except as stated herein, I have personal knowledge of the facts stated herein, and am

competent to testify to them.

                                        My Background

       2. I am a partner in Cross &Kearney PLLC.

       3. I received my undergraduate degree in 1973 and my Juris Doctorate in 1976, both from

the University of Arkansas at I'ayetteville. I was admitted to the Arkansas Bar in 1976, and I

have been a member in good standing since then. I am admitted to practice in all courts in
                                                                                                 gth
Arkansas, the U.S. District Court for the Eastern and Western Districts in Arkansas, the U.S.

Circuit Court of Appeals, and the U.S. Supreme Court. I am a member of the American Bar
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Association, American Trial Lawyers Association, National Bar Association, Arkansas Bar

Association, Arkansas Trial Lawyers Association, Jefferson County Arkansas Bar Association,

and the W. Harold Flowers Law Society.

         4. Except for periods of Government Service, I have maintained a general practice for the

past 3~years, with an emphasis on Title VII law and general civil rights law.

         5. I served as Assistant Arkansas Attorney General October 1977 through January 1979.

In that position, I was Acting General Counsel for State Labor and Local Service Departments

and for the Arkansas State Police, and I represented these agencies in all state and federal courts

in Arkansas and in the U.S. Supreme Court. I represented the state in criminal appeals to the

Court of Appeals of Arkansas, the Arkansas Supreme Court, and United States Supreme Court.

         6. I served as Special Assistant to Governor Bill Clinton from January 1979 through

January 1981, as Governor's liaisons to the State Labor Department, State Local Government

Services Department, Employment Security Department, and Federal Government Programs.

         `~. I was the Arkansas State Claims Commissioner in 1981. This quasi judicial

commission, composed of three commissioners, exercises subject matter jurisdiction over claims

against the State of Arkansas or its agents and departments, including injunctive and monetary

relief, for enforcement of property, contract, and civil rights against agents and officers of the

state.

         8. I also served a term as Circuit Judge, 11th District, State of Arkansas,from 1989 to

1991. The Circuit Court is a general jurisdiction court, exercising full State and Federal

Constitutional, criminal, civil, and equitable jurisdiction. I also served as Magistrate in Probate

and Chancery Court, 1 lth District West, State of Arkansas, 1989 to 2000, except while a Circuit




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Judge. I served as a Special County Judge, Jefferson County, State of Arkansas from 1992 to

2000.

        9. I was actively involved in this case since its inception, representing the class as well as

Mr. Stephenson and other Track A and B claimants.

                            My Representation of Janes Stephenson

        10. I began representing James Stephenson in February, 1999. Mr. Stephenson's Track B

arbitration was successfully concluded by agreement dated August 17, 2010. Mr. Stephenson

was awarded $1.42,500.

        11. I filed Mr. Stephenson's Track B Claim Sheet and election Form on October 11,

1999. Mr. Stephenson alleged that he is an African American farmer who farmed or attempted

to farm between January 1, 1981 and December 31, 1996, that he applied to participate in a

federal farm program with the United States Department of Agriculture during that period, and

that he filed a complaint of discrimination against USDA concerning the treatment he received in

that application process.

                                 Ti;e Evidence in the Arbitration

        12. The evidence in the arbitration showed that:

        13. Mr. Stephenson resides in Dermott Arkansas. He was born in 1949. He has a college

diploma from the University of Arkansas at Pine Bluff, and has some additional college credits

from Notre Dame and the University of Illinois. He is a Vietnam veteran. He was brought up on

his grandfather's farm in Chicot County, Arkansas, where he learned the basic fundamentals of

farming. He also learned the economics of raising produce, cotton, soybeans, hay and livestock.

He also worked on his father-in-law's farm while in college.




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         14. In the mid 1980s, he leased approximately 1,332 acres offarmland and began raising

rice, soybeans and milo. He had three tractors, three combines,two grain trucks, a pickup truck,

a drill, a planter, two disks, a fuel tank, a water tank, and a grain cart. He purchased all of these

with his own money.

        15. In 1986, Mr. Stephenson applied for an operating loan ($80,000) and a farm

ownership loan ($342,000)from the Farmers Home Administration(FmHA)County Office in

Chicot County. The County Supervisor refused to assist him. He leased an additiona1475 acres

in a neighboring county, and applied for an operating loan with the FmHA County Office in that

county. The County Committee found that he was eligible for a loan. The loan was funded late,

and it was supervised, as a result of which his crop was planted late.

        16. Mr. Stephenson also applied fora $158,000 farm ownership loan in August 1986. His

application was "favorably considered" by the County committee, but he did not receive the loan

in 1986.

        ~ `~. In February 1987, Mr. Stephenson applied for an operating loan. He was found

eligible for the loan, but he did not receive a loan. He appealed the loan denial to the National

appeals staff, but received no resolution until the appeal was suspended due to the Pigfo~d

litigation.

        18. Mr. Stephenson applied in December 1987 fora 1988 farm ownership loan to

purchase 900 acres offarmland. The County Supervisor refused to consider the application. Mr.

Stephenson reduced the size ofthe requested loan from $342,000 to $205,000, and reduced the

purchase to 450 acres. He applied for a Farm Ownership Loan in the reduced amount. He also

applied for an operating loan of$82,000. He did not receive any of the loans.




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        19. Mr. Stephenson sought two loans in January 1989, a $90,000 operating loan and an

$80,000 Farm Ownership Loan to purchase a 150 acre tract. The loans were denied by the Chicot

County Supervisor. Atfrst, he was told the loans were denied because no funds were available,

but after he appealed to the district and state directors, he was told that he did not qualify for the

loans due to improper conduct.

       20. He then applied fora $90,000 Farm Ownership loan to purchase 90 acres offarmland.

Two months later, in January 1990, he applied for an operating loan of nearly $80,000. Both

loans were denied by the Chicot County Supervisor in June 1990 on the grounds that no funds

were available.

       21. In the arbitration proceedings, the County Supervisor admitted that the unavailability

offunds was not a valid basis to deny a loan. He said he believed that the loan applications were

denied due to Mr. Stephenson's credit history. When Mr. Stephenson appealed the denial, the

County Committee took the position that he was not eligible for any loan because he would not

carry out the terms and conditions ofthe loan and that he did not have sufficient experience in

managing and operating a farm. The Hearing Officer on the appeal found that Mr. Stephenson

was not eligible because he had given the FmHA misleading information.

       22. From 1992 through 1996, Mr. Stephenson filed annual loan applications for farm

ownership loans and operating loans. In 1.992, he sought an operating loan of $284,060 and an

ownership loan of$283,000. In 1993, he sought an operating loan of$183,000 and an ownership

loan of $332,000. In 1994, he sought an operating loan of $70,000 and an ownership loan of

$332,000. In 1995, he sought an operating loan of $43,000 and an ownership loan of$232,000.

In 1996, he sought an operating loan of$45,000 and an ownership loan of $332,000. In some

years, his applications were accepted and then denied. In other years the County Supervisor



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refused to accept his applications or to give him a formal decision. In some years, he was told he

did not qualify because his credit was unacceptable.

                                          Successful Outcome

           23. The Arbitrator granted the USDA's motion to dismiss in 2001. The basis for the

dismissal was that in 1991 Mr. Stephenson hurt his back and did not farm. His wife filed a Track

A claim for that year, and the Arbitrator ruled that her claim for 1991 barred his claims for other

years for jointly-farmed land.

           24. I appealed the dismissal to the Monitor. The Monitor concluded in 2008 that the

dismissal was clear and manifest error. The Monitor further concluded that the error constituted a

fundamental miscarriage ofjustice within the meaning of the Consent Decree.

           25. The Monitor directed the Arbitrator to reexamine the claim.

           26. The parties prepared for arbitration. In June, 2010, shortly before the scheduled

arbitration hearing, the parties began settlement negotiations. Negotiations proceeded in tandem

with preparation for the arbitration. Mediation was held on August 2, 2010. The matter was

settled.

           27. The settlement agreement expressly left open the question of attorney's fees and

expenses for further negotiations.

           28. The parties have been unable to resolve the question offees and expenses.

                                          Fees and Expenses

       29. Except as noted in the next paragraph, I kept contemporaneous records of my time

and expenditures on the Stephenson matter.

       30. In the early days ofthis matter, my understanding was that class counsel were

supposed to keep time records without differentiating among the individual Track B claimants.



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Later, I learned that we should keep records separately. I made a good faith effort to accurately

separate my time records. I believe I have made appropriate and accurate adjustments to reflect

the time I spent on Mr. Stephenson's case.

       31. My time on the Stephenson matter is shown on Exhibit C. My time spent on my

request for payment offees and expenses is shown on Exhibit E. My expenses are shown on

Exhibit F.

       I declare under penalty of perjury the foregoing is true and correct. Executed on,~,~'~°°




                                             J se Kearney
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